Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 1 of 11 PageID #: 871



                          IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE


  CENTER CAPITAL CORPORATION,                   :
                                                :
                              Plaintiff,        :
                                                :
         v.                                     :   C. A. No. 08-508-JJF-MPT
                                                :
  JR LEAR 60-099, LLC; J. B. HUNT, LLC;         :
  PINNACLE AIR, LLC; JET RIDE, INC.;            :
  ROBERT B. THORNTON; and BILL W.               :
  SCHWYHART,                                    :
                                                :
                              Defendants.       :

                             REPORT AND RECOMMENDATION

  I.     Procedural Background

         Center Capital Corporation (“plaintiff” or “Center Capital”) instituted the instant

  action seeking a writ of replevin and damages for breach of contract and corporate and

  personal guarantees by defendants related to the sale/lease of an aircraft. On August

  14, 2008, a writ of replevin was issued directing that possession of the aircraft be turned

  over to Center Capital.1 Thereafter, notices of voluntary dismissal were filed by Center

  Capital for Jet Ride, Inc. and J.B. Hunt, LLC.2 Pinnacle Air LLC was terminated as a

  party as a result of the filing of the first amended complaint on February 9, 2009.3

  Default judgment was entered against JR Lear 60-099, LLC (“JR Lear”) on June 26,

  2009, in the amount of $5,227,363.90, plus interest, for failure to plead or otherwise

  defend against this matter.4 Center Capital moved for summary judgment against

         1
           D.I. 7.
         2
           D.I. 14, 52.
         3
           D.I. 33.
         4
           D.I. 61.
Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 2 of 11 PageID #: 872



  defendants, Robert B. Thorton and Bill W. Schwyhart (“defendants” or “Thorton” and

  “Schwyhart”).5 On December 16, 2009, the court entered partial summary judgment in

  favor of Center Capital and against defendants, reserving decision on the determination

  of damages.6 Thereafter, on January 8, 2010, Center Capital filed a motion for

  determination of damages and final summary judgment, relying on the supplement

  affidavit of Dave Halvarson,7 requesting that the court enter final judgment in its favor

  and against defendants, jointly and severally for $3,449,404.19 as of January 8, 2010,

  plus continuing interest at $1,585.36 per diem, along with attorneys’ fees and costs.8

  Defendants opposed that motion and sought to conduct discovery regarding the

  marketing and disposition of the collateral at issue.9 Center Capital agreed in limited

  discovery on the issues concerning the sale and marketing of the aircraft, after which

  the court would conduct an evidentiary hearing on damages, if necessary.10

         On March 25, 2010, as a result of a teleconference held on the previous day, the

  court entered a scheduling order addressing the outstanding matters and setting a cut-



         5
           D.I. 40.
         6
           D.I. 71, 72.
         7
           D.I. 69. Dave Halvarson is the senior Vice President of Center Capital, who
  was responsible for supervising the contracts involved in this case and the repossession
  and sale of all equipment and the aircraft. He has either personal knowledge of the
  events or is qualified and authorized to testify regarding the methods and process of
  Center Capital to collect and record information contained in its files regarding the
  events involved in this case. See ¶¶ 1-7.
         8
           D.I. 73.
         9
           D.I. 75.
         10
            D.I. 76. Center Capital’s motion to enter and continue its motions for
  determination of damages. See also D.I. 78, in which the court granted and denied in
  part D.I. 76. In this March 9, 2010 order, the district court judge also referred this matter
  to Magistrate Judge Thynge pursuant 28 U.S. C. § 636 to conduct a hearing on
  damages.

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 3 of 11 PageID #: 873



  off date for discovery on May 21, 2010, a pretrial conference for June 10, 2010 and

  bench trial of damages for June 24, 2010.11

         However, on April 12, 2010, defendants through their then counsel, Daune

  Morris, LLP cancelled the Fed. R. Civ. P. 30(b)(6) deposition of plaintiff. Shortly

  thereafter, on April 23, 2010, defense counsel moved to withdraw, which was granted

  on May 11, 2010.12 On the same day, Teresa Nazario, Esq., in-house counsel for

  Pinnacle Investments, a corporation of defendants, advised Center Capital that Thorton

  and Schwyhart “cannot and are not going forward in this matter.”13 She also canceled

  the depositions of defendants that were scheduled for May 14, 2010. In response,

  Center Capital filed a motion to deem its motion for determination of damages and final

  summary judgment as unopposed, or in the alternative, a motion to compel defendants

  to comply with the scheduling order or be prohibited from offering evidence at the

  damages hearing.14

         As a result, the court scheduled a teleconference for May 27, 2010 to discuss

  and confirm the status of the case. During that teleconference, although she had not

  entered her appearance, Ms. Nazario represented that she was authorized to speak on

  the behalf of defendants. Schwyhart also participated during that teleconference, and

  confirmed Ms. Nazario’s representation. Due to the representations made during that



         11
            D.I. 87. The scheduling order also included an expedited briefing schedule on
  the issue of whether defendants were entitled to a jury trial on the damages. The
  demand for a jury trial was withdrawn on March 25, 2010. See D.I. 88.
         12
            D.I. 90, 92.
         13
            D.I. 93, ¶ 7-8 and Ex. A.
         14
            D.I. 93. The motion noted that no experts had been identified by defendants
  and they had not responded to Center Capital’s outstanding discovery.

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 4 of 11 PageID #: 874



  teleconference on behalf of defendants and by Schwyhart, the court granted on June 2,

  2010, Center Capital’s motion for determination of damages and final summary

  judgment as unopposed, cancelled the evidentiary damages hearing and denied as

  moot plaintiff’s motion to compel.15

         On June 8, 2010, counsel for Center Capital filed his affidavit in support of its

  request for attorneys’ fees and costs.16 On the same date, the court emailed counsel

  advising of the additional information needed to perform a lodestar review of plaintiff’s

  request for attorneys’ fees and costs. Consistent with the directions of the court, out of

  state counsel and local counsel filed updated affidavits in support of Center Capital’s

  request for attorneys’ fees and costs.

  II.    Facts

         As noted in the memorandum opinion of December 16, 2009,17 Key Equipment

  Finance Inc. (“Key Finance”) entered into an Aircraft Security Agreement with JR Lear

  on September 26, 2006 in connection with the purchase of a corporate aircraft.

  Thornton and Schwyhart served as personal guarantors on payment of the purchase

  amount via the execution of personal guaranty agreements.18 Thereafter, Key Finance



         15
              D.I. 98. As instructed by the court, the order was drafted by counsel for
  plaintiff: however, before the court executed the order, Ms. Nazario approved the order
  as to form.
           16
              D.I. 99.
           17
              D.I. 71.
           18
              Under each guaranty agreement, Thornton and Schwyhart unequivocally
  provided that they “absolutely, unconditionally, and irrevocably” guaranteed to the
  lender the “full and prompt payment and performance by the Borrower of all Obligations
  . . . . Notwithstanding the foregoing, the liability of the Guarantor under this Guaranty
  shall not exceed an amount (the ‘Cap’) equal to (a) fifty percent (50%) of the then
  outstanding Obligations . . . .” D.I. 69, Ex. J and K.

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 5 of 11 PageID #: 875



  sold, assigned and transferred all rights, title and interest in the Security Agreement to

  Center Capital.19 JR Lear defaulted by failing to make the required monthly payment on

  July 8, 2008 and by failing to make any subsequent payments thereafter. The defaults

  by JR Lear resulted in an acceleration of the terms and conditions of the Security

  Agreement and Center Capital sought to recover against Thornton and Schwyhart

  under the Personal Guarantees.

         Under Section 5.2 of the Security Agreement, the remedies available upon the

  occurrence of any default gave Center Capital the right to proceed with any appropriate

  court action, sell or otherwise dispose of the aircraft at any private or public sale and

  recover “all costs, charges and expenses, including reasonable legal fees and

  disbursements and any appraisal costs, incurred [by Center Capital] by reason . . . of

  any Event of Default or in enforcing [its] rights under the Agreement . . . .”20 According

  to the Promissary Note (the aircraft loan), JR Lear promised to pay the entire sum due

  and owing for the principal, interest and payment premium and late payment charges, if

  any, on the loan for the aircraft ($6,061,900. at the time of execution), as well as all

  “costs and expenses of collection, including without limitation, reasonable attorneys’

  fees, incurred in connection with enforcement [by Center Capital] of its rights and

  remedies hereunder and under the other Loan documents . . . in connection with . . .

  judicial proceedings . . . .”21 In each Personal Guaranty, the definition of the

  “obligations” secured by Thornton and Schwyhart meant those obligations of JR Lear



         19
            Id., Ex. M.
         20
            Id., Ex. A.
         21
            Id., Ex. H.

                                                5
Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 6 of 11 PageID #: 876



  under the loan documents, “including costs, expenses and attorneys fees incurred by

  the Lender in connection therewith.”22

  III.   Parties’ Contentions

         Center Capital maintains that as of June 4, 2010 amount owed by Thornton and

  Schwyhart is $3,791,202. which includes attorneys’ fees and costs of $108,750.06.23 In

  calculating the principal amount due, Center Capital relies on the Halvarson affidavit

  previously filed in this matter in support of its summary judgment motion. Taking into

  account the settlement with J.B. Hunt, the net proceeds from the sale of the aircraft and

  related expenses, and the accumulating interest, the total amount under the loan

  documents Center Capital asserts is due as of June 4, 2010 is $3,682,452.24 It notes,


         22
             Id., Ex. J and K.
         23
             June 4, 2010 letter from Dressler Peters, LLC (not docketed). Further,
  according to the loan documents per diem rate of interest at 18% continues to run until
  the date of judgment.
          24
             According to the Halvarson affidavit, as of July 24, 2008, the principal balance
  due under the Security Agreement was $5,410,890.24, plus $4,492.75 in late fees and
  prejudgment interest of 18% at a per diem rate of $2,705.45, making the total amount
  due at $5,761,680.59 as of December 2, 2008. See D.I. 69, ¶¶ 15,16 and 18. The
  interest that accrued from December 2 to January 23, 2009 (52 days at $2,705.45 per
  day) was $140,638.40, resulting in a total amount of $5,902,363.90 due by the January
  date. See ¶¶ 19-20. Subsequently, Center Capital settled with J.B. Hunt on January
  24, 2009 which reduced the outstanding balance by $675,000, so that the remaining
  amount due as of that date was $5,22,.363.90. See ¶ 22. Consistent with the Security
  Agreement, per diem interest continued to accrue at the rate of 18% which resulted in a
  daily rate of $2,577.87 ($5,227.363.90 x .18/365 = $2,577.87). See ¶ 23. Because of
  the accumulating interest, the amount due when the aircraft was sold on August 13,
  2009 for principal, interest and late fees was $5,745,515.77. See ¶ 24. The aircraft
  was sold for $3,132,000. Additional expenses incurred by Center Capital were $42,690
  for engine maintenance agreement costs, $500 in fees for registration of the aircraft,
  closing costs for the sale of $2,250, a broker fee relating the sale of $75,000, personal
  property tax of $25, and repairs to the plane of $480,790.09. See ¶¶ 27-32. Those total
  costs equaled $601,255.09. Therefore, the net proceeds from the sale ($3,132,000. -
  $601,255.09 = $2,530,744.91) resulted in a principal amount due as of August 13, 2009
  of $3,214,770.86 ($5,745,515.77 - $2,530,744.91). Based on that reduced amount, the

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 7 of 11 PageID #: 877



  consistent with the previous summary judgment determination, that Thornton and

  Schwyhart do not dispute that they executed the Personal Guarantees or that they

  failed to make the required payments. The dispute had centered on the commercial

  reasonableness of Center Capital’s activities and a purported failure to mitigate. Since

  those issues have now been resolved in plaintiff’s favor pursuant to the June 2, 2010

  order, it demands final judgment be entered against each defendant for 50% of the

  entire obligation.

         Although defendants do not dispute certain of their obligations under the various

  loan documents, including the Personal Guarantees, during the teleconference of May

  27, 2009, Schwyhart contended that the liability of J.B. Hunt, Thornton and himself were

  the same at 32% each, and argued that each defendants’ exposure should be equal to

  J.B. Hunt’s settlement. Plaintiff disputes that position.

  IV.    Discussion

         As determined previously on the motion for summary judgment, “all that the

  creditor need prove is an absolute and unconditional guaranty, the underlying debt, and

  the guarantor’s failure to perform under the guaranty.”25 Defendants do not dispute that

  they signed the Personal Guarantees, their obligations contained therein, nor their



  per diem interest of 18% equaled $1,585.36 until the date of judgment. See ¶ 33. As of
  June 4, 2010, the additional interest that accumulated since August 13, 2009 was
  $467,681.20 (295 days x $1,585.36 per day) making the total principal amount due of
  $3,682,452. Id. Because interest continues to accumulate at the daily rate of $1,585.36
  until the day of judgment, the total principal amount due as of the date of this Report
  and Recommendation is $3,760,134.64 ($1,585.36 x 49 days [June 4 to July 23] =
  $77,682.64 + $3,682,452).
          25
             City of NewYork v. Clarose Cinema Corp., 256 A.D.2d 69, 71 (N.Y. App. Div.
  1998).

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 8 of 11 PageID #: 878



  failure to make the required payments. The Security Agreement provides that in the

  case of default, in addition to any unpaid principal or interest and late payment charges,

  the borrower was also responsible for any and all charges, costs, expenses, interest at

  the per diem rate of 18% on the total due and reasonable attorneys’ fees incurred by

  Center Capital in enforcing its rights under that agreement. The promissary note

  provides that under default, the entire sum for principal, interest and late fees was

  immediately due, along with any costs and expenses related to collecting on the loan,

  including reasonable attorneys’ fees. The Personal Guarantees made defendants

  responsible for all obligations of the borrower under the aforementioned documents and

  specifically provided that their liability was “absolute, primary and direct,” with the

  guaranty being “valid, enforceable and unconditionally binding upon” each defendant.

  Moreover, the liability of each defendant is unlimited and continuing.26 The only

  limitation is the provision in the Personal Guarantees which caps each defendant’s

  responsibility to an amount of 50% of the entire outstanding obligation. The court has

  scoured the documents provided by the parties and is unable to find any other limitation

  on Thornton and Schwyhart’s liability under the various loan documents and

  guarantees. Therefore, any settlement entered into between Center Capital and J.B.

  Hunt is irrelevant to the nature of the obligations of defendants as contained in those

  documents.27

         The affidavit and supplemental affidavit of Dennis A. Dressler (“Dressler affs.”)28


         26
           D.I. 69.
         27
           Central Capital in its calculations has reduced the amount due, which also
  reduced the amount of accumulating interest, by the settlement amount with J.B. Hunt.
        28
           D.I. 99, 101 respectively.

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 9 of 11 PageID #: 879



  and the affidavit of local counsel, R. Karl Hill, (“Hill aff.”)29 are made in support of Center

  Capital’s request for attorneys’ fees and related expenses. The Dressler affs. confirm

  that 460.41 hours were expended for legal services (both counsel and paralegal

  services) from late July 2008 through May 28, 2010 by Dressler/Peters, LLC, out of

  state counsel representing Center Capital. The hourly rate charged by the partners of

  that firm is $225.00, while the hourly rate for associates is $175.00. The affidavits

  reveal that the partners, Dressler and Peters, have twelve and 27 years respectively in

  the practice of commercial litigation and are licensed and in good standing in various

  jurisdictions, including Illinois where their office is located. The associates have been in

  practice for 8 to 17 years and are also licensed and in good standing in Illinois. The

  paralegals involved in this matter have experience ranging from 4 to 8 years and their

  hourly rate is $100.00. The Dressler affs. prove that the hourly rates charged are

  consistent with those rates charged by counsel of equal or similar standing in the

  profession. The costs incurred by Dressler/ Peters, LLC are $17,885.21 which included

  the charges by local counsel through April 2010.

         According to the Hill aff., R. Karl Hill is a partner at Seitz, Van Ogtrop & Green,

  P. A. (“SVG”), who has been admitted to practice in Delaware since 1989 and is a

  member in good standing in that jurisdiction, as well as the District Court for the District

  of Delaware and the United States Court of Appeals of the Third Circuit. His hourly rate

  is $250.00. He began providing legal services to Center Capital in August 2008. In

  addition, another partner of SVG, Kevin A. Guerke, Esq., represented plaintiff and since



         29
              D.I. 102.

                                                 9
Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 10 of 11 PageID #: 880



  2001 has been admitted to practice in Delaware, this court and the Third Circuit and is a

  member in good standing in this jurisdiction. His hour rate is $175.00. The Hill aff.

  confirms that both hourly rates fall well within the range of rates typically charged in

  Delaware for commercial litigation work. The Hill aff. notes that SVG has billed

  Dressler/Peters through April 2010 the amount of $14,982.50 for attorney time, plus

  $1,134.05 in expenses, for a total of $16,116.55.

         According to the Dressler affs. and the Hill aff., as of May 28, 2010, Center

  Capital has incurred and paid a total of $108,750.06 in fees and costs.30

         Defendants do not dispute the hourly rate, the amount of hours expended or

  reasonableness of the attorneys’ fees demanded.

                       ORDER AND RECOMMENDED DISPOSITION

         For the reasons contained herein, I recommend that:

         1. Judgment be entered in favor of plaintiff, Center Capital Corporation in the

  amount of $3,760,134.64 against defendants Robert B. Thorton and Bill W. Schwyhart

  for damages arising under the loan documents and Personal Guarantees, with interest

  at the daily rate of $1,585.36 continuing to accrue until final judgment is entered, plus

  attorneys’ fees and costs as of May 28, 2010 in the amount of $108,750.0, with leave

  for Center Capital to file a petition to modify should any additional fees and costs have

  been incurred since that date. It should be further ordered that consistent with the

  Personal Guarantees, each defendant is responsible for fifty percent (50%) of the total

  judgment.


         30
           The Dressler affs. request leave to file an amended fee schedule, if needed, to
  include additional expenses and fees incurred subsequent to May 28, 2010.

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Case 1:08-cv-00508-LPS-MPT Document 103 Filed 07/23/10 Page 11 of 11 PageID #: 881



        This Report and Recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B),

  Fed. R. Civ. P. 72(b)(1), and D.Del.LR 72.1. The parties may serve and file specific

  written objections within fourteen (14) days after being served with a copy of this Report

  and Recommendation. Fed. R. Civ. P. 72(b). The objections and response to the

  objections are limited to ten (10) pages each.

        The parties are directed to the Court’s standing Order in Non Pro Se matters for

  Objections Filed under Fed. R. Civ. P. 72, dated November 16, 2009, a copy of which is

  available on the Court’s website, www.ded.uscourts.gov.

  Dated: July 23, 2010                     /s/ Mary Pat Thynge
                                           UNITED STATES MAGISTRATE JUDGE




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